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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 BLUE SPIKE, LLC                                 § Civil Action No. 6:12-CV-499 MHS
      Plaintiff,                                 §
                                                 § LEAD CASE
 v.                                              §
                                                 §
 TEXAS INSTRUMENTS, INC.                         §
     Defendants                                  §


 BLUE SPIKE, LLC,                                § Civil Action No. 6:12-CV-576 MHS
      Plaintiff,                                 §
                                                 § CONSOLIDATED CASE
 v.                                              §
                                                 §
 AUDIBLE MAGIC CORPORATION,                      §
 FACEBOOK, INC., MYSPACE, LLC,                   §
 SPECIFIC MEDIA, LLC,                            §
 PHOTOBUCKET.COM, INC.,                          §
 DAILYMOTION, INC.,                              §
 DAILYMOTION S.A., SOUNDCLOUD,                   §
 INC., SOUNDCLOUD LTD., MYXER,                   §
 INC., QLIPSO, INC., QLIPSO MEDIA                §
 NETWORKS LTD., YAP.TV, INC.,                    §
 GOMISO, INC., IMESH, INC.,                      §
 METACAFE, INC., BOODABEE                        §
 TECHNOLOGIES, INC., TUNECORE,                   §
 INC., ZEDGE HOLDINGS, INC.,                     §
 BRIGHTCOVE INC.,                                §
 COINCIDENT.TV, INC., ACCEDO                     §
 BROADBAND NORTH AMERICA,                        §
 INC., ACCEDO BROADBAND AB,                      §
 AND MEDIAFIRE, LLC                              §
        Defendants.                              §


       DECLARATION OF ALYSSA CARIDIS IN SUPPORT OF AUDIBLE MAGIC’S
      OPPOSITION TO BLUE SPIKE’S MOTION TO EXTEND DEADLINE BY 9 DAYS

         I, Alyssa Caridis, declare under penalty of perjury that the following is true and correct:

                1.      I am an attorney at the law firm Orrick, Herrington & Sutcliffe, LLP,

 counsel of record for defendants Audible Magic Corp. (“Audible Magic”) and a number of its

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 customers accused as defendants in this case on the basis of Audible Magic’s technology. I have

 personal knowledge of the facts set forth in this declaration, or access to information and records

 allowing me to confirm these facts. If called as a witness, I could testify competently to these

 facts under oath.

                2.      Attached hereto as Exhibit 1 is a true and correct copy of an e-mail sent

 by Alyssa Caridis to Randall Garteiser dated May 23, 2014.

                3.      Attached hereto as Exhibit 2 is a true and correct copy of an e-mail sent

 by Alyssa Caridis to Randall Garteiser dated May 30, 2014.

                4.      Attached hereto as Exhibit 3 is a true and correct copy of an e-mail sent

 by Alyssa Caridis to Randall Garteiser dated May 30, 2014.

                5.      Attached hereto as Exhibit 4 is a true and correct copy of a letter sent by

 Audible Magic to Blue Spike dated May 14, 2014.

                6.      Attached hereto as Exhibit 5 is a true and correct copy of Audible

 Magic’s First Set of Interrogatories to Blue Spike LLC served on April 2, 2014.

                7.      Attached hereto as Exhibit 6 is a true and correct copy of Blue Spike’s

 Objections and Response to Audible Magic’s First Set of Interrogatories dated May 16, 2014.

                8.      Attached hereto as Exhibit 7 is a true and correct copy of Audible

 Magic’s First Set of Request for Admissions to Blue Spike Inc. served on June 11, 2014.

                9.      Attached hereto as Exhibit 8 is a true and correct copy of Audible

 Magic’s First Set of Interrogatories to Blue Spike Inc. served on June 11, 2014.

                10.     Attached hereto as Exhibit 9 is a true and correct copy of an archived

 copy of Blue Spike’s My Shopify webpage offering for sale the Giovanni Abstraction Machine

 as late as December 13, 2013. Obtained at

 https://web.archive.org/web/20131213022122/http://blue-spike.myshopify.com/, last visited July
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 24, 2014.

                11.     Attached hereto as Exhibit 10 is a true and correct copy of an e-mail sent

 by Alyssa Caridis to Randall Garteiser dated July 15, 2014.

                12.     Attached hereto as Exhibit 11 is a true and correct copy of an e-mail sent

 by Randall Garteiser to Alyssa Caridis dated July 17, 2014.

                13.     Attached hereto as Exhibit 12 is a true and correct copy of an e-mail sent

 by Randall Garteiser to Alyssa Caridis dated July 18, 2014.

                14.     Attached hereto as Exhibit 13 is a true and correct copy of an e-mail sent

 by Randall Garteiser to Alyssa Caridis dated July 21, 2014.

                15.     Attached hereto as Exhibit 14 is a true and correct copy of an e-mail sent

 by Alyssa Caridis to Peter Brasher dated May 2, 2014.

                16.     Attached hereto as Exhibit 15 is a true and correct copy of an e-mail sent

 by Peter Brasher to Eric Findlay dated July 9, 2014.

                17.     Attached hereto as Exhibit 16 is a true and correct copy of an e-mail sent

 by Randall Garteiser to counsel for Audible Magic dated July 17, 2014.

                18.     Attached hereto as Exhibit 17 is a true and correct copy of an archived

 copy of Blue Spike’s webpage providing a direct link to Blue Spike’s myshopify website on

 November 2, 2012. Obtained at

 https://web.archive.org/web/20121102150403/http://www.bluespike.com/, last visited July 24,

 2014.

         I declare under penalty of perjury under the laws of the United States of America that the

 foregoing facts are true and correct based on my own personal knowledge.

                Executed on July 24, 2014 in Los Angeles, California.



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                                           __________________________

                                           Alyssa Caridis




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